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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                District ofDistrict
                                             __________     New Hampshire
                                                                    of __________


            Estate of Michele M. Walker, et al.                )
                             Plaintiff                         )
                                v.                             )      Case No.     1:11-cv-421-PB
      State of NH - Adm Office of the Courts, et al.           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          State of NH - AOC; State of NH - NH 2d Circuit Littleton Division                                            .


Date:          09/27/2011                                                             /s/ Mary Ann Dempsey
                                                                                         Attorney’s signature


                                                                                    Mary Ann Dempsey, #13123
                                                                                     Printed name and bar number

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                                           CERTIFICATE OF SERVICE

I hereby certify that this Appearance was served on the following persons on this date and in the manner
specified herein:

Electronically Served Through ECF:
Leslie H. Johnson, Esq.



Conventionally Served:




         09/27/2011                                                        /s/ Mary Ann Dempsey
Date                                                       Signature
